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December 12, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:     Kadrey et al. v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC-TSH

Dear Judge Hixson:

        Plaintiffs and Defendant Meta Platforms, Inc. (“Meta”) jointly submit this letter brief
regarding privilege-related issues that arose during the December 5, 2024 deposition of Sy
Choudhury. The parties met and conferred during the deposition but were unable to reach a
resolution.
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I.      PLAINTIFFS’ STATEMENT
        Plaintiffs deposed Sy Choudhury, Meta’s Director of Business Development, AI
Partnerships, on December 6, 2024. During that deposition, Meta improperly (1) attempted to claw
back a portion of a Meta business document that is not privileged (and would be waived
regardless), and (2) asserted privilege over the substance of an April 2023 business-related meeting
that resulted in Meta’s decision to “pause” its pursuit of licensing all text data for use with Llama.
        A. The Clawed Back Documents Are Not Privileged
        In the course of questioning Mr. Choudhury about Meta_Kadrey_00093499, Meta’s
counsel orally clawed back two pages of the document. See Ex. A at 228:17-22; 234:12-14.
Plaintiffs stated on the record they “will certainly dispute the ability to claw back this document.”
See Ex. A at 229:1-4; 234:15-235:1. Plaintiffs then sequestered Meta_Kadrey_00093499 and four
duplicate versions identified by Meta.1 Ex. C. Under Rule 26(b)(5)(B), a party receiving a
clawback notice “may promptly present the information to the court under seal for a determination
of the [privilege] claim.”2 The subject documents are not privileged. They are a presentation for
Mark Zuckerberg and other Meta executives about pros and cons of
            ” for Llama, Ex. A at 216:9-19, 220:14-20, including whether to open source the model
to improve Meta’s competitive standing, id. at 221:1-225:6. A column on “legal” risks, among
others, Ex. A at 228:17-22, cannot change that purpose; reference to the word “legal” does not
make it legal advice. Further, for communications that “may relate to both legal and business
advice, the proponent of the privilege must make a ‘clear showing’ that the ‘primary purpose’ of
the communication was securing legal advice.” Dolby Lab’ys Licensing Corp. v. Adobe Inc., 402
F. Supp. 3d 855, 873 (N.D. Cal. 2019). The “primary purpose” of this document is to inform a
business decision about releasing Llama.
        Meta also waived any privilege because the documents were not produced “inadvertently.”
Courts apply a “totality of the circumstances” approach to inadvertent disclosure, including (1)
reasonableness of precautions to prevent inadvertent disclosure, (2) time taken to rectify the error,
(3) scope of discovery, (4) extent of the disclosure, and (5) overriding issue of fairness. E.g.,
Hanson v. Wells Fargo Home Mortg., Inc., 2013 WL 5674997, at *6 (W.D. Wash. Oct. 17, 2013).
Rule 502(b) encompasses errors, not intentional disclosures a party regrets. See Silverstein v. Fed.
Bureau of Prisons, 2009 WL 4949959, at *11 (D. Colo. Dec. 14, 2009) (disclosure not
“inadvertent” where document examined by two attorneys before production). Meta produced five
versions of this document, apparently without redacting the portion it now seeks to claw back. Ex.
C. It defies belief that Meta “inadvertently” made the same “mistake” five times. Meta clearly
believed the pages at issue were not privileged when it conducted its privilege reviews, and
counsel’s post hoc mid-deposition clawback can’t undo that. Plaintiffs thus request that the Court
order Meta to submit all versions for in camera review, identify the two pages it seeks to claw
back, and order Meta to produce the documents unredacted.


1
 Plaintiffs cannot review these documents because they are now sequestered, and thus brief this issue based
on excerpts of Mr. Choudhury’s deposition that discuss some of the non-clawed-back parts of the document.
2
 The protective order contemplates that the parties would negotiate a clawback agreement. Dkt. No. 90 at
20. This never occurred. “Absent a stipulation adopting different procedures, the procedures for making a
privilege claim and for disputing such a claim are set forth in Rule 26(b)(5) of the Federal Rules of Civil
Procedure.” In re Google RTB Consumer Privacy Litig., 2022 WL 1316586, at *1 (N.D. Cal. May 3, 2022).


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II.    META’S STATEMENT
        Plaintiffs’ privilege disputes regarding Mr. Choudhury’s deposition are meritless. Meta’s
counsel immediately clawed back a portion of a document that, by Plaintiffs’ own description, is
“[a] column on ‘legal’ risks.” And Mr. Choudhury appropriately relied on attorney-client privilege
in not disclosing communications with Meta’s in-house counsel regarding legal advice bearing on
Mr. Choudhury’s decision to cease licensing outreach. Relief should be denied.
       A.      The Clawed-Back Two Pages Are Privileged And There Has Been No Waiver.
        During the 30(b)(1) deposition of Mr. Choudhury, Plaintiffs’ counsel introduced as Exhibit
862 a document entitled “LLaMa – A New Industry Platform.” Ex. 1 (12/5/24 Choudhury 30(b)(1)
Tr.) at 215:15 (referring to Meta_Kadrey_00093499–00093513.00016). Eventually, Plaintiffs’
counsel began questioning about a “trade-off-summaries” chart that listed three options regarding
commercial licensing of Llama. Id. at 226:20-227:15. When counsel turned to page 00093506,
which Plaintiffs’ counsel described as “refer[ring] to several risks for making the model available,”
id. at 228:9-11, counsel for Meta immediately sought to claw back that page: “[T]his appears to
be something I’ll need to claw back, the legal risks listed in column 2 . . . .” Id. at 228:17-22.
Plaintiffs’ counsel stopped questioning on that portion of the document, see id. at 229:1-2, but was
permitted to complete questioning regarding other, non-privileged sections of it, id. at 229–34.
After that questioning ended, Meta’s counsel again explained the scope and basis for the clawback:
disclosure of a legal risk discussion. Id. at 234:12-14. Plaintiffs’ counsel disputed the clawback
but agreed to sequester. Id. at 234:15-235:1.
         Plaintiffs concede that the clawed-back material is “[a] column on ‘legal’ risks,” but argue
that it is not privileged because “[t]he ‘primary purpose’ of this document is to inform a business
decision about releasing Llama.” Plaintiffs are wrong, as they have been on this point before. See
Dkt. 309. The fact “[t]hat the document as a whole addresses predominantly business matters does
not negate the privilege as to the portion containing requests for legal advice.” U.S. v. Chevron
Corp., 1996 WL 444597, at *2 (N.D. Cal. May 30, 1996) (emphasis added); City of Roseville
Employees’ Ret. Sys. v. Apple Inc., 2023 WL 5519304, at *8 (N.D. Cal. Aug. 25, 2023) (permitting
redactions of legal advice although “the remainder of the document involves business advice.”);
In re Meta Pixel Healthcare Litig., 2024 WL 3381029, at *6 (N.D. Cal. July 10, 2024) (same).
       Here, Meta is not claiming privilege over the entirety of the clawed-back document. See
Ex. C (“Meta will reproduce such documents with appropriate redactions in due course.”). And
the two pages that Meta seeks to redact clearly have the “primary purpose” to give or receive legal
advice. See Stirratt v. Uber Techs., Inc., No. 2024 WL 1723710, at *5 (N.D. Cal. Apr. 19, 2024)
(approving redactions in dual-purpose documents where “the primary purpose of the redacted
information is to give or receive legal advice rather than business advice” (emphasis added));
Illumina Inc. v. BGI Genomics Co., 2021 WL 2662074, at *4 (N.D. Cal. June 29, 2021) (finding
proper redactions to an org chart where the “redaction . . . identifies a specific legal risk”).
        Nor has Meta waived privilege. Plaintiffs are wrong that because Meta produced five
versions of the same document (from different sources) with the same error that the mistake was
not inadvertent or that “Meta clearly believed the pages at issue were not privileged.” To the
contrary, among tens of thousands of pages of production, this redaction was missed by Meta’s
privilege review for the first version of the document produced, and the redactions for the first
version of the document were then replicated across the four other versions when those were
produced. Hartnett Decl. ¶ 4. At no time did Meta intentionally release this information. Id. at ¶



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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 12, 2024                                      BOIES SCHILLER FLEXNER LLP


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